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                             UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF MICHIGAN




United States of America,

                                   Plaintiff,

v.                                                      Case No. 2:19−cr−20738−BAF−APP
                                                        Hon. Bernard A. Friedman
Joseph Ashton,
                                   Defendant(s),




                                      NOTICE TO APPEAR

     The following defendant(s) are hereby notified to appear: Joseph Ashton

   The defendant(s) shall appear before District Judge Bernard A. Friedman at the United
States District Court, Theodore Levin U.S. Courthouse, 231 W. Lafayette Boulevard, Room
110, Detroit, Michigan, for the following proceeding(s):

       • SENTENCING: May 20, 2020 at 10:30 AM



                                      Certificate of Service

   I hereby certify that this Notice was electronically filed, and the parties and/or counsel of
record were served.

                                                By: s/J. Curry−Williams
                                                    Case Manager

Dated: March 12, 2020
